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8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )          CASE NO. 2:09-CR-358 WBS
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )          STIPULATION AND [PROPOSED]
                                   )          ORDER TO EXCLUDE TIME
14   JOSE OLIVERA ZAPIEN, et al.   )
                                   )
15                                 )
                    Defendant.     )
16   ______________________________)
17

18        The parties request that the status conference in this case
19   be continued from March 22, 2010 to May 3, 2010 at 8:30 a.m.
20   They stipulate that the time between March 22, 2010 and May 3,
21   2010 should be excluded from the calculation of time under the
22   Speedy Trial Act.   The parties stipulate that the ends of justice
23   are served by the Court excluding such time, so that counsel for
24   the defendant may have reasonable time necessary for effective
25   preparation, taking into account the exercise of due diligence.
26   18 U.S.C. § 3161(h)(7)(B)(iv)and Local Code T-4.        Specifically,
27   all defense counsel need additional time to review the discovery
28   provided and investigate the case.      The government has provided

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1    an additional 447 pages of discovery and 5 additional CD’s
2    containing translations and transcriptions of the wire recordings
3    in this case.   The parties stipulate and agree that the interests
4    of justice served by granting this continuance outweigh the best
5    interests of the public and the defendant in a speedy trial.          18
6    U.S.C. § 3161(h)(7)(A).
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8                                            Respectfully Submitted,
9                                            BENJAMIN B. WAGNER
                                             United States Attorney
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11   DATE: March 19, 2010             By:     /s/ Heiko P. Coppola
                                             HEIKO P. COPPOLA
12                                           Assistant U.S. Attorney
13

14   DATE: March 19, 2010                     /s/ Michael Petrick
                                             MICHAEL PETRICK
15                                           Attorney for Defendant Jose
                                             Olivera Zapien
16
                                              /s/ Gilbert Roque
17                                           GILBERT ROQUE
                                             Attorney for Defendant Ramiro
18                                           Suarez
19                                            /s/ Ruben Munoz
                                             RUBEN MUNOZ
20                                           Attorney for Defendant Adolfo
                                             Valencia Alvarez
21
                                              /s/ Olaf Hedberg
22                                           OLAF HEDBERG
                                             Attorney for Defendant Jose
23                                           Quintero Fernandez
24                                            /s/ Clemente Jimenez
                                             CLEMENTE JIMENEZ
25                                           Attorney for Defendant Jose
                                             Moreno Gutierrez
26
                                              /s/ Tim Pori
27                                           TIM PORI
                                             Attorney for Defendant Erik
28                                           Aguilar Lara

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1                                               /s/ Chris Cosca
                                               CHRIS COSCA
2                                              Attorney for Defendant
                                               Alejandro Moreno Gutierrez
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5                                              SO ORDERED.
6    DATE:   March 18, 2010
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